              Case 4:05-cr-40043-JPG                       Document 124 Filed 02/22/07                                                      Page 1 of 6                  Page ID
% A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
                                                                     #323
             Sheet 1




                      SOUTHERN                                            District of                                                                 ILLINOIS

         UNITED STATES OF AMERICA                                                       JUDGMENT IN A CRIMINAL CASE
                             v.
                   JAMES E. WARE
                                                                                        Case Number:                    4:05CR40043-002-JPG

                                                                                        USM Number:                     06728-025

                                                                                         Eric W. Butts                                                 IL.
                                                                                        Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)             1 of the Indictment

  pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'ritle & Section                   Nature of Offense                                                                                               Offense Ended                Count



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                                                                  ;   '   ,   ,    ,,     .y,,t-hh;
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                                                                                  <,      ,>       .,   .    #     I



       The defendant is sentenced as provided in pages 2 through                                10               of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
17The defendant has been found not guilty on count(s)
17Count(s)                                            is                          are dismissed on the motion of the United States.

         I t is ordered that the defendant must not~fythe United Stares anomey for this distr~ctwithin 30 da s of any chan c of name, rcsjdencc,
or mallingaddress untilall fmes, rcstltutlon, costs, and specral assessments imposed by th~sjudgmcntarc fufiy paid. lforircd to pay restltutlon,
the defendant must nohfy the coun and Un~tedStares attorney of nutern1 changes m cconomlc circumstances.


                                                                                        Date of Imposition of Judgment



                                                                                        Signature                dg8




                                                                                         J. Phil Gilbert                                                         District Judge
                                                                                                                                                               Title of Judge
                                                                                        Name,.'
                  Case 4:05-cr-40043-JPG                Document 124 Filed 02/22/07                     Page 2 of 6        Page ID
A 0 2458      (Rev. 06/05) Judgment in Criminal Case
                                                                  #324

                                                                                                        Judgment - Page   2of        10
 DEFENDANT: JAMES E. WARE
 CASE NUMBER: 4:05CR40043-002-JPG


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

  262 months on Count 1 of the Indictment




      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the instihltion designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
                 Case 4:05-cr-40043-JPG                  Document 124 Filed 02/22/07                     Page 3 of 6          Page ID
                                                                   #325
A 0 245B      (Rev. 06/05) Judgment in a Criminal Case

                                                                                                            Judgment-Page
                                                                                                                               3      O'        10
DEFENDANT: JAMES E. WARE
CASE NUMBER: 4:05CR40043-002-JPG
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

 8 years on Count 1 of the Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a f~earm,ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officee (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this udgment imposes a fine or restlrutlon, i t 1s a condltlon of supervised release that the d e f d a n t pay in accordance wlth the
 Schedule o f l ~ a ~ m e nsheet
                            t s of t h ~ judgmrnt
                                         s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refraln from excesslve use of alcohol and shall not purchase, possess, use, dlstr~bute,or adm~nisterany
           conrrolled substance or my paraphcmal~arelated to sny controlled substancca, except as prcscr~bcdby a physician,
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9) the defendant shall not assoulate wlth any percons en aged m crlminal astlvity and shall nor assocrate w~thany person conv~ctedof a
                                                                  R
      felony, unless granted permlsslon lo do so by the pro ailon olfiuer,
  10)      the defendant shall p e y i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notify third panlea of risk? that nny be occasioned-by the defendant's crinunal
           record or persona? histoy or character~stlcsand shall permit the probation ottlcer to make such notltlcatlons and to confirm the
           defendant s compliance w ~ t hsuch notificat~onrequirement.
A 0 2458
            Case 4:05-cr-40043-JPG                    Document 124 Filed 02/22/07        Page 4 of 6        Page ID
           (Rev. 06105) Judgment in a Criminal Case
           Sheet 3C - Supervised Release                        #326

DEFENDANT: JAMES E. WARE
                                                                                            Judgment-Page
                                                                                                            -
                                                                                                            4      of      10

CASE NUMBER: 4:05CR40043-002-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.
               Case 4:05-cr-40043-JPG                      Document 124 Filed 02/22/07                    Page 5 of 6      Page ID
A 0 2458    (Rev.06105) Judgment in a Criminal Case
            Sheet 5 -Criminal      Monetary Penalties                #327
                                                                                                      Judgment - Page   5 of
DEFENDANT: JAMES E. WARE                                                                                                -               10

CASE NUME3ER: 4:05CR40043-002-JPG
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                            -
                                                                              Fine                           Restitution
TOTALS              $ 100.00                                                $ 200.00                       $ 0.00



 IJ   The determination of restitution is deferred until     -An Amended Judgment in a Criminal Case(A0 245C) will be entered
                                                                        ,

      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant nukes a partial payment, each pa ee shall rrcelve an approximately ro ortioned ayment. unless specified otherw~sein
      the priority order or percentage payment columnielow. However, pursuant to I8
      before the llnlted States 1s pa~d.
                                                                                              Js~.
                                                                                               $ 3664{), all nonfederal victims must be paid


 Name of Pavee

  4.                      "
                          .I'
                              .!
                                                                              Total*           Restitution Ordered      Priorih or Percentas
                                                                                                                                          (,I

                                                                                                                                          ,,




 TOTALS                                   $                      0.00            $                   0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 9 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   &# the interest requirement is waived for the @ fme               restitution.
           the interest requirement for the             IJ fme   IJ restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Apnl23, 199%.
A 0 2458
              Case 4:05-cr-40043-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                         Document 124 Filed 02/22/07                Page 6 of 6            Page ID
           Sheet 6 -Schedule of Payments                           #328
                                                                                                       Judgment- Page       6     of         10
DEFENDANT: JAMES E. WARE
CASE NUMBER: 4:05CR40043-002-JPG


                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     c;d Lump sum payment of $                               due immediately, balance due

                 not later than                                  , 01
                 in accordance                C,      I3 D,        E, or   JI    F below; or

B     IJ Payment to begin immediately (may be combined with                 C,          D, or      F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D     IJ Payment inequal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     i
      jSpecial instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




[Inless h e coun has express1 ordcred otherwise, if this judgment imposes imprisonment, a ent ofcrinunal monetary pcnaltlcs is duc dun?
Imprison.mTnt. All cnnnnaYmoneta penalties, except those payments made througl c ~ e d e r a Bureau l     of Pr~sons'Inmate ~ i n a n c i 3
Kesponsihillty Program, are made t o x e clerk of the coun.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



     Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the ibllow~ngorder: ( 1 assehsment, (2) resritution pnncipal, (3) res~tutioninterest, (4) fine pnncipal,
(>) fine interest, (6) community restitution, (7) penalties, and (8)costs, lncludlng cost of prosccutlon and coun costs.
